                     Case 3:05-cr-00024-WTM-BKE Document 248 Filed 11/02/15 Page 1 of 1

A0 247(10/Il) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. * 3582(cX2)                                Page I of 2 (Page 2 Not for Public Disclosure)


                                                                                                                          U.S.        NL ED
                                                               UNITED STATES DISTRICT COURT
                                                                            for the
                                                                  Southern District of Georgia
                                                                                                                                        J1     Z69Y RT
                                                                                                                         2015N0V-2 Pjf:52
                                                                       Dublin Division
                                                                                                                           So. DIST
                       United States of America                                        )
                                                                                                                   CLER"
                                                                                          Case No: 3:05-CR-00024-5
                                Johnny Hodges                                          )


                                                                                       ) USMNo: 12883-021
Date of Original Judgment:        October 27, 2008                                     ) Jeffrey M. Harvey
Date of Previous Amended Judgment: April 18, 2012                                      ) Defendant's Attorney
(Use Date of Last Amended Judgment. if any)


                                          Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


         Upon motion of              [K]
                               the defendant Dthe Director of the Bureau of Prisons Ethe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § 1 B 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
  j DENIED. GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last Judgment
             issued) of        months is reduced to


                                                    (Complete Parts I and!! of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated April 18, 2012,                                 shall remain in effect.
IT IS SO ORDERED.

Order Date:                                ________
                                                                                                               Judge's


                                                                                            William T. Moore, Jr.
                                                                                            Judge, U.S. District Court
 Effective Date:                                                                            Southern District of Georgia
                          (if dfferent from order dale)                                                      Printed name and title
